Case 2:18-cv-11450-LJM-MKM ECF No. 22 filed 06/25/18    PageID.1056   Page 1 of 3



                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

MICHAEL WELCH,

      Plaintiff,
vs.                                               Case No: 18-cv-11450
                                                  Hon. Laurie J. Michelson
CITY OF MELVINDALE, a political                   Mag. Mona K. Majzoub
Subdivision of the State; MELVINDALE
PUBLIC SAFETY COMMISSION, a political
advisory body of the City of Melvindale;
JEFFERY BOLTON, KEVIN MCISAAC,
MARTHA MCDANIEL, PATRICIA HALL,
JOSEPH ALVARADO, and LAWRENCE
COOGAN, individuals, sued in their official and
personal capacities,

      Defendants.
__________________________________________________________________
DEBORAH GORDON LAW                     PLUNKETT COONEY
Deborah L. Gordon (P27058)             Audrey J. Forbush (P41744)
Elizabeth Marzotto Taylor (P82061)     Attorney for Defendants, City of
Attorneys for Plaintiff                Melvindale, Melvindale Public
33 Bloomfield Hills Parkway, Suite 220 Safety Comm., Bolton, McIsaac,
Bloomfield Hills, Michigan 48304       McDaniel, Hall & Alvarado
(248) 258-2500/Fax (248) 258-7881      Plaza One Financial Center
dgordon@deborahgordonlaw.com           111 E. Court Street- Suite 1B
emarzottotaylor@deborahgordonlaw.com Flint, Michigan 48502
                                       (810) 342-7014/Fax (810) 232-3159
                                       aforbush@plunkettcooney.com

                                          JOHNSON, ROSATI, SCHULTZ
                                          & JOPPICH, P.C.
                                          Carlito H. Young (P61863)
                                          Laura B. Brown (P79742)
                                          Attorneys for Lawrence Coogan, Only
                                          27555 Executive Drive, Suite 250
                                          Farmington Hills, Michigan 48331
Case 2:18-cv-11450-LJM-MKM ECF No. 22 filed 06/25/18    PageID.1057    Page 2 of 3



                                    (248) 489-4100/Fax (248) 489-1726
                                    cyoung@jrsjlaw.com
                                    lbrown@jrsjlaw.com
__________________________________________________________________
 STIPULATED ORDER WITHDRAWING PLAINTIFF’S MOTION FOR A
                    PRELIMINARY INJUNCTION

      It is hereby stipulated by and between the parties that Plaintiff Michael

Welch withdraws his Motion for a Preliminary Injunction because on June 12,

2018 Defendants rescinded Melvindale Public Safety Commission Resolution

18.05.07, and thereafter provided Plaintiff his signed MERS Retirement Forms.

      Plaintiff’s Motion for a Preliminary Injunction [Dkt. 10] is hereby

withdrawn.

                                           s/Laurie J. Michelson
                                           LAURIE J. MICHELSON
Dated: June 25, 2018                       U.S. DISTRICT JUDGE


As stipulated to:

DEBORAH GORDON LAW                         PLUNKETT COONEY
/s/ Deborah L. Gordon (P27058)             /s/Audrey J. Forbush (P41744)
Elizabeth Marzotto Taylor (P82061)         Attorney for Defendants, City of
Attorneys for Plaintiff                    Melvindale, Melvindale Public
33 Bloomfield Hills Parkway, Suite 220     Safety Comm., Bolton, McIsaac,
Bloomfield Hills, Michigan 48304           McDaniel, Hall & Alvarado
(248) 258-2500/Fax (248) 258-7881          Plaza One Financial Center
dgordon@deborahgordonlaw.com               111 E. Court Street- Suite 1B
emarzottotaylor@deborahgordonlaw.com       Flint, Michigan 48502
                                           (810) 342-7014/Fax (810) 232-3159
                                           aforbush@plunkettcooney.com
                                           JOHNSON, ROSATI, SCHULTZ
                                           & JOPPICH, P.C.
                                           /s/Carlito H. Young (P61863)
Case 2:18-cv-11450-LJM-MKM ECF No. 22 filed 06/25/18   PageID.1058   Page 3 of 3



                                         Laura B. Brown (P79742)
                                         Attorneys for Lawrence Coogan, Only
                                         27555 Executive Drive, Suite 250
                                         Farmington Hills, Michigan 48331
                                         (248) 489-4100/Fax (248) 489-1726
                                         cyoung@jrsjlaw.com
                                         lbrown@jrsjlaw.com
